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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

ETTA FANNING AND MARY JANE SMOOT,            §
                                             §
                 Plaintiffs,                 §
                                             §
VS.                                          §       Civil Action No. 5:18-cv-0803-XR
                                             §
CITY OF SHAVANO PARK, TEXAS,                 §
                                             §
            Defendant.                       §
__________________________________           §

                      DEFENDANT CITY OF SHAVANO PARK’S
                           FIRST AMENDED ANSWER

TO THE HONORABLE UNITED STATES DISTRICT JUDGE XAVIER RODRIGUEZ:

       NOW COMES the CITY OF SHAVANO PARK, Defendant in the above entitled and

numbered cause and files this its First Amended Answer to Plaintiffs’ First Amended

Complaint heretofore filed and in support thereof would respectfully show unto the Court

the following:

                                          I.
                                   FIRST DEFENSE

       Plaintiffs’ First Amended Complaint fails to state a cause action against this

Defendant upon which relief may be granted.


                                        II.
                                  SECOND DEFENSE

       Defendant CITY OF SHAVANO PARK admits that this action purports to arise from

alleged violations of Plaintiffs’ constitutional rights under 42 U.S.C. §1983 as alleged in

Plaintiffs’ First Amended Complaint; however, Defendant denies that any cause of action

exists thereunder.
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                                               III.
                                          THIRD DEFENSE

         Defendant CITY OF SHAVANO PARK denies “Preliminary Statement” Paragraphs 1-

3 of Plaintiffs’ Amended Complaint. Defendant CITY OF SHAVANO PARK denies that its

sign ordinance violates the First and Fourteenth Amendments to the United States

Constitution or the Texas Constitution as alleged in Plaintiffs’ Amended Complaint.

Defendant asserts that Plaintiffs’ argument that the City lacks authority to impose a sign

code has already been decided by the Court. Plaintiffs’ assertion is without merit and the

Law of the Case Doctrine dictates that the City of Shavano Park does have authority to

impose a sign ordinance, as a matter of law.

                                               IV.
                                         FOURTH DEFENSE

         Defendant CITY OF SHAVANO PARK denies “Statement of Facts” Paragraphs 9-13.

Defendants assert unto the Court that Plaintiff Fanning placed the banner signs on common

property of the Homeowners’ Association not her private property. Defendant CITY OF

SHAVANO PARK asserts that Plaintiff Fanning lacks standing, as a matter of law.

                                                V.
                                          FIFTH DEFENSE

         Defendant CITY       OF   SHAVANO PARK admits Paragraph 14 to the extent that a

“Fourth of July Raincheck Block Party” was rescheduled.


                                                VI.
                                          SIXTH DEFENSE

         Defendant CITY OF SHAVANO PARK admits Paragraph 15 to the extent that the

banner signs were again hung on common areas of the Homeowners’ Association and not

on Plaintiff’s private property.


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                                              VII.
                                        SEVENTH DEFENSE

         Defendant CITY OF SHAVANO PARK admits Paragraph 16 to the extent that HOA

President Adam Holzhower complained to the City of Shavano Park concerning the

banners that were placed without permission by Plaintiff Fanning.

                                              VIII.
                                         EIGHTH DEFENSE

         Defendant City of Shavano Park denies Paragraphs 17 through 24 of Plaintiff’s

Amended Complaint.

                                               IX.
                                          NINTH DEFENSE

         Defendant CITY OF SHAVANO PARK denies “Enforcement of Sign Code Against

Plaintiff MJ Smoot’s Campaign Signs” Paragraphs 28 through 34 of Plaintiff’s Amended

Complaint. Defendant admits Paragraph 35 that Smoot’s Campaign was unsuccessful in

2015.

                                                X.
                                          TENTH DEFENSE

         Defendant CITY OF SHAVANO PARK denies Paragraphs 36 through 45 of Plaintiff’s

Amended Complaint. Defendants deny that her campaign was defected as alleged in

Plaintiff’s Complaint. Defendant denies that Plaintiff Smoot has sustained damages or has

standing in this suit, as a matter of law.


                                              XI.
                                       ELEVENTH DEFENSE

         Defendant CITY OF SHAVANO PARK admits Paragraph 46 to the extent Plaintiff

Smoot lost the election. Defendant CITY OF SHAVANO PARK denies Paragraphs 49 through


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64 of Plaintiffs’ Amended Complaint. Defendant denies that the City of Shavano Park sign

ordinance concerning political signage violates Plaintiff’s rights under the First or

Fourteenth Amendments or the Texas Constitution as alleged in Plaintiffs’ Complaint.

                                             XII.
                                       TWELFTH DEFENSE

         Defendant CITY         OF    SHAVANO PARK admits that Shavano Park enacted

comprehensive sign regulation regime was amended on November 22, 2021. (See, Exhibit

A – which is attached for all purposes.)

         Defendant CITY OF SHAVANO PARK admits Paragraphs 66 through 77 to the extent

that it does not conflict with Exhibit A which is attached hereto. Defendant admits

paragraphs 75, 76, 77, 78 and 79 to the extent that it does not conflict with Exhibit A.

                                            XIII.
                                     THIRTEENTH DEFENSE

         Defendant CITY         OF   SHAVANO PARK denies “Permanent Injunction Relief”

Paragraphs 81 through 86 of Plaintiffs’ First Amended Complaint. Defendant denies that

Plaintiffs have standing under the First Amendment or the Texas Constitution as alleged in

Plaintiffs’ Complaint.

                                            XIV.
                                     FOURTEENTH DEFENSE

         Defendant CITY       OF   SHAVANO PARK denies Count I, Paragraphs 87 and 96 of

Plaintiffs’ First Amended Complaint. Defendant City of Shavano Park would show unto

the Court that as a Type A General Municipality it has the power to enact sign ordinances.

Town of Lakewood Village v. Bizios, 493 S.W.3d 527, 531 (fn.3) 2016. Defendant further

assert the Doctrine of Law of the Case, as a matter of law.




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                                             XV.
                                      FIFTEENTH DEFENSE

         Defendant CITY OF SHAVANO PARK denies Count II, Paragraphs 97 through 105

of Plaintiffs’ First Amended Complaint. Defendant denies that its sign code is in violation

of the First and Fourteenth Amendments to the United States Constitution or the Texas

Constitution and Election Code as alleged in Plaintiffs’ Amended Complaint.

                                             XVI.
                                      SIXTEENTH DEFENSE

         Defendant CITY OF SHAVANO PARK denies Count III, Paragraphs 106 through 113

Plaintiffs’ First Amended Complaint. Defendant City of Shavano Park asserts that its sign

ordinance did not violate the First and Fourteenth Amendments to the United States

Constitution as alleged in Plaintiffs’ Amended Complaint, as a matter of law. City of

Austin, Texas v. Reagan National Advertising of Austin, LLC, ____ U.S. ____ 142 S.Ct.

1464 (2022).

                                           XVII.
                                    SEVENTEENTH DEFENSE

         Defendant CITY OF SHAVANO PARK denies Count IV, Paragraphs 114 through 129

of Plaintiffs’ First Amended Complaint. Defendant asserts that the City of Shavano Park’s

sign ordinances made the basis of this lawsuit, the original and the amended ordinances are

not violative of the First or Fourteenth Amendments or the Texas Constitution as alleged

in Plaintiff’s Complaint. See, City of Austin, Texas v. Reagan National Advertising of

Austin, LLC, ____ U.S. ____ 142 S.Ct. 1464 (2022); Reed v. Town of Gilbert AZ, ___

U.S. ___ 135 S.Ct. 2218 (2015).




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                                            XVIII.
                                     EIGHTEENTH DEFENSE

         Defendant CITY        OF   SHAVANO PARK denies Plaintiff’s “Prayer for Relief” of

Plaintiff’s Amended Complaint. Defendant denies that Plaintiff is entitled to any of the

relief requested including reasonable attorney’s fees under 42 U.S.C. §1988, as a matter of

law.

                                            XIX.
                                     NINETEENTH DEFENSE

         Defendant CITY       OF    SHAVANO PARK denies any allegations in Plaintiffs’ First

Amended Complaint not specifically admitted herein and demands strict proof thereof as

required by law.

         WHEREFORE,              PREMISES               CONSIDERED,    Defendant        CITY        OF

SHAVANO PARK prays that Plaintiffs’ suit be dismissed against it, or in the alternative,

that the Plaintiffs take nothing by their lawsuit against it, that Defendant have Judgment

herein, that the Defendant be awarded its costs expended, including reasonable attorney’s

fees and for such other and further relief, both general and special, and at law and in equity,

to which it may show itself justly entitled.

                                             Respectfully submitted,

                                             LAW OFFICES OF CHARLES S. FRIGERIO
                                             A Professional Corporation
                                             Riverview Towers
                                             111 Soledad, Suite 840
                                             San Antonio, Texas 78205
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                                             BY: //s// Charles S. Frigerio
                                                    CHARLES S. FRIGERIO
                                                    SBN: 07477500
                                                    Lead Counsel


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                                                  HECTOR X. SAENZ
                                                  SBN: 17514850
                                             ATTORNEYS FOR DEFENDANT
                                             CITY OF SHAVANO PARK

                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing Defendant
City of Shavano Park’s First Amended Answer filed via CM/ECF has been forwarded on
this the 31st day of August, 2022 via the CM/ECF system to the following:

Mr. Jerad Wayne Najvar
Najvar Law Firm PLLC
2180 North Loop West, Suite 255
Houston, Texas 77018                                    Via Email: jerad@najvarlaw.com



                                                        //s// Charles S. Frigerio
                                                        CHARLES S. FRIGERIO




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regulations pertaining to signs and to ensure that the constitutionally guaranteed right of
free speech is protected; and

WHEREAS the City Council of the City of Shavano Park desires to update its sign
regulations to meet the changing conditions in the City as well as the changed statutory
and legal requirements related to sign regulation; and

WHEREAS pursuant to Texas Local Government Code Section 51.001, the City of
Shavano Park has general authority to adopt an ordinance or police regulation that is for
the good government, peace, or order of the City and that is necessary or proper for
carrying out a power granted by law to the City; and

WHEREAS pursuant to Chapters 211 and 216 of the Texas Local Government Code, the
City of Shavano Park has the authority to regulate signs and variance procedures; and

WHEREAS the City Council finds that the amendments imposed by this Ordinance are
reasonable, necessary, and proper for the good government of the City of Shavano Park.

NOW, THERFORE, BE IT ORDAINED BY THE CITY COUNCIL OF THE CITY OF
SHAVANO PARK, TEXAS:

                                           I
                                 CODE AMENDMENT
Chapter 24, Article I. - IN GENERAL of the City of Shavano Park Code of Ordinances is
hereby amended to read as follows:

Sec. 24-1. - Purpose and scope.

    These regulations shall apply in the City Limits. These regulations set forth by the
City of Shavano Park, pursuant to its authority to regulate structures under Tex. Local
Government Code Ch. 211 and any authority it may have under Tex. Local Government
Code Ch. 216, combine the need to protect the public safety and welfare, the need to
encourage pedestrian movement, the need for a well maintained and attractive
community, and the need to adequately convey ideas, provide communication, and
identify features within the community. The provisions do not ensure or provide for
every property or business owner's desired level of visibility for signs. The sign
standards are intended to allow signs to have adequate visibility from streets and
rights-of-way that abut a site, but not for visibility from streets and rights-of-way
farther away. The regulations for signs and awnings have the following specific
objectives:
    (1)     To ensure that signs and awnings are designed, constructed, installed and
          maintained according to standards to safeguard life, health, property, and public
          welfare, and to eliminate excessive and/or confusing sign displays that create
          potential hazards to motorists, pedestrians, and to property;

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